""CaS_`e_ l`-1`7445968¥Cec 'D'O'C"'lZ Filed'll/30/17' f Eri'tef"éd“j_Z/O'l/l? 11103:55

UNITED s § ATES BANKRUPTCY CoURT
EAsTERN DisTRICT oF NEW YORK
__________________________________________________________________ X

lnre: §§ §W§ ;, w -
… §§ fif§§ tim §>/ C N USB;W mesa
356 0` §§Stss§i§§§§§€§'ceem
3§;»-[£{ §S?-§;CT

Chapter 7

 

AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(b)

 

 

 

§§L f\\ §:i iii 1(§§§ iii §§ §/ , undersigned debtor herein, swears as follows:
l. Debtor filed a petition under chapter 7 _of the Ba.nkruptcy Code on
2, Schediile(s)-AWJ were not filed at the time of filing of the said petition, and is/are- being filed herewith.
3. [Check applicable box]:
M The schedules filed herewith reflect no additions or corrections to, or deletions from, the list of creditors

Which accompanied the petition.

WH Annexed hereto is a listing of names and addresses of scheduled creditors added to or deleted from the list
of creditors which accompanied the petition. Also listed, as applicabie, are any scheduled creditors whose
previously listed names and/or addresses have been corrected The nature of the change (addition, deletion
or correction) is indicated for each creditor listed.

4. [If creditors have been added] An amended mailing matrix is annexed hereto, listing added creditors ONLY, in the
format prescribed by Local Rule 1007-3.

Reminder: No amendment of schedules is e]j"ective until proof of service in accordance with EDNYLBR 1009~1([)) has
been filed with the Coart.

Any additions to the list of creditors which accompanied the petition wili be deemed an amendment to that list; if this
amendment is filed prior to the expiration of the time period set forth in Fed. R. Banlcr. P. 4004 and 4007, it will be deemed
to constitute a motion for a 30-day extension of the time within which any added creditors may file a complaint to object to
the discharge of the debtor and/or to determine dischargeability This motion will be deemed granted without a hearing if
no objection is filed with the Court and served on debtor within 14 days following filing of proof of service of this

   

NO. OiMABD .!-
OUALIF!ED\N K\NGSCOUNT\'

bi,"c)re me this [Mvcomwss\om expresses 12 2019
§ ‘Efi/t aim

 

D§','btor (sz`gna;are)

    

 

Notaiy Pubiic, St. te of New York

USBC - .64 Rev. ll/l/ll

 

 

 

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ib'i_:€fmt i ___i'd.é:iréff y

Debtor 1 Matha Cantey

First Name Middie Name Lasr Name

 

Debtor 2
(Spouse, if til`ing) Firsi Narne Nliddie Name Lasr Nama

 

United States Bankruptcy Court for the: EASTERN Distn'ct of NEW YORK

Case number m ChBCk if this is an
"fk“°“‘m amended filing

 

 

Official Form 1068um
Summary of Vour Assets and Liahilities and Certain Statis'tical lnformation 12i15

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
inforrnation. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Sumrnarize Your Assets

 

 

Your.ass_ets_ _' ' n
Value' of what you own -_ .'
1. Schedule A/B: Property (Official Form 10BAIB)

 

i ia_ Copy line 55, Total real estatel from Schedule A/B ................................. . ........................................................................ $ -HM-_~
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 800
1c. Copy line 63, Total of all property on Sohedule A./B ......................................................................................................... $ 1200800

 

 

 

 

Sumrnarlze Your Liabilities

 

 

-Your'li_ahilitiee`

Amount you owe ` `

2. Schedule D: Credi'tors Who Have C!ai'ms Secured by Preperty (Official Form 1060) l
za. Copy the total you listed in Column A, Amount of clelm, at the bottom of the last page of Part 'l of Schedui'e D........... 5 L'L‘)_'l(_}_"____ §

3. Scl'iedule E/F_' Credi'fors W!'io Have Unsecured Clar'ms (Official Form iOBEIF) ;
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedu!e E/F ............................................ $ o_~mW l

 

3b.Co the total claims from Part2 non riorit unsecured claims from line 6' of Schedule E/F
py i p v ) 1 -i- $ 166600

 

Your totai liabilities $ 2536600

 

 

 

:' Summarize ‘{ouir lncome and Expenses

 

 

4. Schedule l: Your income (Official Form 106|) i

 

 

z Copy your combined monthly income from line 12 of Schedule l $ 670

§ 5. Schedule J: YourExpenses (Oflicial Form 106J) i g

: Copy your monthly expenses from line 220 of Schedule J .............................................................................. . ..................... $ L________ l
Official Form 1068um Sui'nmary of Your Assets and Liabilities and Certain Statistica| information page 1 of 2

"'CaS€¢l-l7-459'68-CGC DOC 12 Filed fl_f|_/SO/f|_?l Entei’ed 12/01/17 112703:55

Debtgr 1 Matha CilIltey Case number irrimown)
Flrsl Name l\iliddle Nama Last Name

Answer These Questions for Administrative and Statistical Records

 

 

§ 6. Are you filing for bankruptcy under Chapters 7, 11l or 13?

§ cl \lo. You have nothing to report on this part of the form. Checi< this box and submit this form to the court with your other schedules
V es

 

 

 

 

 

§ 7. What kind of debt do you have?

§E¥our debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fi|l out lines 8-9§ for statistical purposes 28 U.S.C. § 159.

i;!§¥our debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

 

 

 

 

 

8. Frorn the Statement of Your Current Monthly lncome: Copy your total current monthly income from Ofiicial §
Form ‘tZZA-i Line 'lt; OR, Form 1223 Line 11; OR, Form 122C-‘l Line 14. $ 800

 

 

 

 

 

9_ Copy the following special categories of claims from Part 4, line 6 of Schedul'e E/F:

Total:c_lair_n_' _' -`

 

 

Fr'om' Pa_rt_ 4 on Sched_ul'e E/F, copy the following: - '_ ' _ n n ' l
9a. Domesti`c support obligations {Copy line Ga.) $ 0
Qb, Texes and certain other debts you owe the government (Copy line Sb.} $0___ §
9c. Ciaims for death or personal iniuiy While you Were intoxicatedl (Copy line 60.) $ 0
9d. Student loans. (Copy line 6f.) $ 9 l
9e. Ob|igations arising out of a separation agreement or divorce that you did not report as $ g
priority claims. (Copy line BQ.) __
9f. Debts to pension or profit»sharing plans, and other similar debts. (Copy line 6!1.) + $ 0
99. Total. Add lines 93 through 9f. $ |) §

 

 

 

 

 

 

 

Ofl'icia| Form iOSSum Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

 

Case 1-17-45968-cec DOC 12 Filed 11/30/17 En`t`er`ed"`l`Z/Ol/l? `1`1:03:5`5"

Dobi@r t Matha Caotey

Firsl Narne Mlddle Name l_ast Name

 

Debtor 2

 

{Spouse, if lillng) First Nsme Middle Name Last Name
United States Bankruptcy Court for the: EASTERN District of NEW YGRK

Case number

 

El check iiihis is an
amended filing

 

 

Official Form tOSA/B
Schedule AIB: Property ms

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. |f two married people are filing together, both are equally
responsible for supplying correct information lf more space is needed, attach a separate sheet to this form, On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

z Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an lnterest ln

 

 

§ i. Do you own or have any legal or equitable interest' in any residence, building, landl or similar property?

' No. Go to Part 2.
Yes. Where` is the property?

 

What ls the property? Check all that app|y' Do not deduct secured claims or exemptions Put "
i;l $izigle-fami|y horne the amount of any secured claims on Schedule D: . j
1_1_ Residence Mortage Paid ln Fu]l Credr'r_ors Who Have Cia_r'ms Secured by Propei_ty. '

Du lex or multi-onit buildin
Street address, if availab|e, or other description m p g

 

 

 

 

 

 

 

Ei COFiinmii'iiUm Oi' COOPBiBiiVE Current value of the Current value of the
Loc: 551 St Marks Av Bklyn Ny 11216 l:l Nlanufactured or mobile home entire propert\f¢‘ portion you own?
E| tend s 700000 $ 700000
Ei investment property
_ n ~§-§mesha,.e - Describe the nature of your ownership
C'tY Staie Zip C°de L-_l Oth interest {such as fee simple, tenancy by
er the entireties, or a life estate), if known.
Who has an interest in the property? Check une. Fee Simple
Debtori only
County n l'.lebtozr 2 only
g Debtor§ and Debmr 2 my ll check if this is community property

' t ’ ns
i.._.l At least orie of the debtors and another (See ms mem )

Other information you wish to add about this item such as local
PFOP€'W identification number- ESLStMa.i:iss_Ay_Bkl§m_Ngi_llZlé.___
lt you own or have more than one. list here:
What is the property? Check all that apply Do_not deduct secured claims or exemptions Put

i;l Single~fai'niiy home the amount of any secured claims on Schedule D:

1_2_ liablin Residellce ` Credi'tors W?ro Hai_re Clar'ms` Secure_d by F_mper_ty.

Street audress, if available, or other description

 

Cl oopiex or marti-unit burning

 

 

 

Loc: 33 Hawmm-ne gt Bklyn Ny 112225 m CO"dOminiLim OF COOiiei'aii\/‘¢ Current vatue of the Currerrt value of the :
i;l |\rlanufactured or mobile home Enfire property? portion you own?
lZ] r_anri $ 500000 $ 500000
|nvestment properly
. Describe the nature of your ownership
City - State ZlP Code D T'meshare interest (such as fee simple, tenancy by
a Oiiiei the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one. Fee Simliie
Debtort only
la Debtor 2 only

a Debi°i'i 3de D€bi°i' 2 Oiiiy a Check if this is community property
m At least one of the debtors and another (SB€ inSlruCl.iOnS)

 

County

Other information you wish to add about this item, such as local

property identification number: 33 [;laygl]g;n§ §t Bklyn §§ 112225

Oi‘licial Form tOGA/B Schedule AIB: Pi'operty page 1

 

 

Case 1-17-45968-0@0

Matha

First Name

Dei:rtor 1 Canfey

Middie Name

1,3.

1331 Nal’l"lE

 

Street addressl if availabie. or other description

 

 

City State

ZIP Code

 

County

_ 2. Adcl the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. .................................................... . ................................. ')

' Describe Your Vehicles

 

What is the property? Checi< ali that app|y.
Ei Sing|e-fan'ii|y horne

m Dupiex or multi-unit building

a Condominium or cooperative

m l\rlanufactured or mobile home

i;i Land

a investment property

m Timeshare

m Otlrer

 

Who has an interest in the property'? Check one.
§§ Debior 1 only '

Ci senior 2 only

Ci Debtor 1 and Debtor2 only

i;i At least one of the debtors and another

Case number (rrr<nowni

DOC 12 Filed 11/30/17 Eniei’ed 12/01/17 11203:55

Do not deduct secured claims or exemptions Put
the amount of any secured claims on_'Schedule D.'

Credirors__Who Have Ciaims_Secured by Property. ` §

Current value of the Cun'ent value of the

entire property?
$ $

portion you own?

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

i:i Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

$ 1200000

 

 

 

in Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicie, also report it on Scheduie G: Executory Corrtracts and Uriexpr'red Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

§MEW§No

 

 

3_1, Nlake:
Nlode|:
Year:
Approximate mileage:

Other information:

 

 

 

 

if you own or have more than one, describe here:

3_2_ i\/lake:
l\r‘iode|:
Year:
Approximate mileage:

Otiier information:

 

 

 

 

Oi‘i`icia| Form 106AJ'B

Who has an interest in the property? Check one.
i;] Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Ciieck one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

i;i At least one of the debtors and another

E] Check if this is community property (See
instructions)

Scheduie AiB: Property

Current value of the

'D_o not deduct secured claims or exemptionsl -Put
the amount of any secured claims on Schedule D: _
Qrso’itors_ Who Have Clsr‘ms Secured by Prope_rfy.

Current value of the Current value of the

entire property? portion you own?

Do riotdeduct_` secured claims or exemptions Put-

the amount of any secured claims on Scliedule D.' ' _=
_ C_red§'tors Who Have.Ciair_ns Secured by Pro,oerty. §

entire property? portion you own?

page 2

Current value of the _

 

 

 

Case 1-17-45968-cec DOC 12 Filed 11/30/17 Entered 12/01/17 11:03:55` `

 

 

Debtort Matha Ca“tey Case number germany
First Name Midd|e Nlme Last Name
3_3_ Ni'ake: Wh° has an interest m the PF°F-"erty? Ci`leck °"\@- Do not deduct secured claims or exemptions Put - =
§'”U`";D m 1 l the amount of any secured claims on Scheo’uie D: _
Nlodelt e or on y Creditors Who Hai_/e Ciaim_s Secured by Proper_iy. _ §
WDebtor 2 only ' '
Year: ' Current value of the Current value of the

Approximate mileage:

Other information:

 

 

 

 

3_4_ iVlake:
i\/iodel:
Year:
Approximate mileage:

Other information.'

 

  
 

7 rr§;Debtort and Debtor 2 only
EiAt least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

 
     

i:i§ Debtor’i only

U§Debzor 2 only

mt Dehtorl and DebtorZ only

i_~At least one of the debtors and another

i:i Check if this is community property (see
instructions)

entire property? portion you own?

:.Do not deduct secured claims or exemptions `Put .

the amount of any secured claims on Schedule D:_
Credrtors Who Heve Ci'aims Secured by Pioperry.

Current value of the Current value of the ‘

entire property? portion you own?

' 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers motors, personal watercraft, tlshing vesseis, snowmobiles, motorcycle accessories

NO
Yes

 

4.;_ lVlai<e:
lV|odeE:
Year:

Other intormation:

 

l
l

 

if you own or have more than one, list here:

4,2_ iVlake:
lVlodei:
Year:

Othsr information:

 

 

 

 

Who has an interest in the property? Check one.

n Debtor‘i only

n Debtor 2 only

n Debtor‘i and DebtorZ only

Ei At least one of the debtors and another

Ei Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtori only

n Debtor2 only

L_.i Debtor1 and Debtor2 only

Ei At least one of the debtors and another

Do not deduct secured claims or exemptions Put

the.amount of any secured claims on S_cheo'ufe D.'
Credi'tors Who Have Ciaims Secured_by P_roperty. ' §

Current value of the Current value of the §

entire property? portion you own?

Do not deduct secured claims orexernp`tions. Put- n
the amounth any secured claims on Scheduie D:
Creditors Who Hai/e Ciaims Secured by F‘i"operiyl

Current value of the Current value of the

entire property? portion you own?

 

 

m Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, inciuding any entries for pages $ 0
you have attached for Part 2. Write that number here 9

Official Form 106A1'B

Scheclu|e AIB: Property

 

 

 

page 3

 

 

Case 1-17-45968-0@0

Matha

FirstName

Cantey

Last Name

Debtor 1

Case number trimown)

 

l\/liddie Name

Describe Vour Personal and Household items

 

 

_ D_o_ you-own or have any legal _or_ equitable interest in any_of_t_he following items? ._ _ " §

6. i-lousehold goods and furnishings
Exampies: lViajor appliances furniture linens, china, kitchenware

§ . Current value of the '_ `
portion you own? - _
Do not deductsecured claims j

` or exemptions ` ` - `

 

i@No

ica YSS- Desc"`bs --------- ` Househuld Assers - 551 St Marks Avenue Bklyn Ny 11216

§ 7. Electronics

Exampies.' Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
coilections; electronic devices including coil phones, cameras, media players, games
d§ No

 

5 5000

 

 

§;_iq Ves. Describe ..........

 

 

 

8. Collectibies of value
Exampies: Antiques and iigurlnes; paintings, prints, or other artworl<; books, pictures, or other art objects;

 

E_ stamp, coin, or baseball card coilections; other coliectlons, memorabiiia, collectibies
@§ No

Yes. Describe .......... §

l

 

 

_ 9. Equipment for sports and hobbies

Examplos: Sports, photographicl exercise, and other hobby equipment; bicycles, pool tables, goltc clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
‘“""":
id No

 

mfg Yes. Describe .......... §

 

 

10. Firearms
E_§;_;ampies: Pistols, rifles, shotguns, ammunition1 and related equipment
im§ No

 

§i:il Yes. Describe..........

 

§ 11.C|othes
E"gr'ampies: Everyday ciothes, furs, leather coats, designer wear, shoes, accessories

 

id No
¥es. Describe..........§

l

   

 

 

` 12.Jewelry
Exarnples: Everyday jewelry, costume jewelryl engagement rings, wedding rings, heirloom jewelry, watches, gems,

gold, silver
ii No

 

§§ Yes. Describe..........

 

 

13. Non-farm animals
Exarnpies: Dogs, cats, birds, horses

i:d:No

 

ici§ Yes. Describe ..........

 

 

 

. 14.Any other personal and household items you did not already list, including any health aids you did not list

ing No

§,a ,t…._,wl

 

 

`,,.____§Yes. Give specific
information

 

 

§ 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here

Otucial Form 106A/B Schedule AIB: Property

 

 

 

 

page 4

 

 

CaS€ ¢1-17-45968-060 DOC 12 Filed 11/30/17' Entered 12/01/17 1'1203255

Debtor 1 Matha Cantey Case number iirimown)

First Name Middte Narne Lasl Narne

  

j Describe ¥our Financial Assets

 

_'-j_portion you own? §
Do_not deduct secured claims _j
' _or e_xe_r_riptionsl ' - 1

Do you_own_or have-any'legal.or equitable interest in_ any of_th`e followin'l?'- .. _ '_ '_ -_ _` Current value_ofthe

16. Cash
Exampies: lVloney you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

§:ELNO

§ 17. Deposits of money
Exampies: Checl<ing, savings, or other financial accounts; certificates of deposit shares in credit unions, brokerage houses,
and other similar institutions if you have multiple accounts Witl'\ the Same institution list each.

 

institution name:

17‘1. Checking account

 

17.2. Chec|<ing account:

 

1?.3. Savings account

 

1?.4. Savings account

 

1?.5. Certiticates of deposit

 

1?.6. Other financial account

 

17.?. Other financial account

 

1?.3. Other financial account

 

39&9€8&9'9%9§€&-9?$

17.9. Other T“lnancial account

 

;8. Bonds, mutual funds, or publicly traded stocks
Exampies.' Bond funds, investment accounts With brokerage firms, money market accounts

 

institution or issuer name:

 

 

z 19. dion-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

§:E§ NO Name of entity: % of ownership;
§Q:Yes. Give specific %
information about
them %
%

 

Ofncia| Form 106AIB Schedu|e AIB: Property page 5

 

Case 1-17-45968-0@0

Matha Cantey

Debtor 1

D§OC 12 §§ F§i|ed 11/30/1§7 § Enter§ed 1§2/01/17 11103:5§5§

Casa number (irknawn)

 

First Name Midd|e Nlme

Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negoriabie instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
iven-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

“§@§§'§No

 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

`_HiYes. Give specific 1531-tel name?
information about
them ....................... $
$
$
§ 21. Retirement or pension accounts
Exampies: interests in lRA, ERISA, Keogh, 401(l<), 403(b). thrift savings accounts, or other pension or profit-sharing plans
§§ l\io
§@Yes. List each
account Separately, Type of account institution name:
401(¥<) or similar plan: $
Pension plan: $
lenz $
Retirement account $
Keogh: $
Additiona| account $
Additional account $
§ 22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Exampies: Agreements with landlords, prepaid rent, public utilities {electric, gas, water), telecommunications
companies, or others
institution name or individual:
E|ectric: $
Gas: $
Heating oif: $
Security deposit on rental unit $
Prepaid rent $
`l"elephone: $
Water: $
Rsnted furniture: 3
Other: $
§ 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
§§ NO
§§ Yes .......................... lssuer name and description;
$
$

 

Oi‘ticia| Form 106AIB

Schedule AIB: Property

 

 

Case 1-17-45968-cec DOC 12 Filed §§1§§1/30/1§7 E§ntered12/01/1§§7§1§1:03:55

Debtor 1 Matha Cantey Case number umwa
First Name Middle Name Last Name

24_lnterests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program

 

 

 

- 25.Trusts, equitable or future interests in property [other than anything listed in line 1), and rights or powers
exercisable for your benefit

§d,§ No
§§§§§Yes. Give specific

information about them.._. $

 

 

 

 

26. Patents, copyrights1 trademarks trade secrets, and other intellectual property
Exampies: lnternet domain names, websites, proceeds from royalties and licensing agreements

§:HNO

§§§§El Yes. Give specific
information about them....§

 

t__.t._W __a

l
l
1

 

2?. Licenses, franchises, and other general intangibles
Exampies: Building permits, exclusive licenses, cooperative association holdinge, Eiquor licenses professional licenses

§a:§ No
§§§E__l_§ Ves. Give specific §
information about them....§ $

 

 

 

 

§- M.Q“By°l”Pl`QPB.ffy.OW_@dtOyQH'-) .' -' _ _ -_§ _ § ' -_ §_ - _- f-_ §. _ _ '- _ _ Currentvalue ofthe
. ._ .: ._ .-; . _ . - -.. - ' - - - ' -' ' ' `.'portion you own?
§ Do 'not deduct secured .
'§ claims orexemptio'ns.

2B.Tax refunds owed to you
§§ No

§§le Yes. Give specitic information
about them, including Whether
you already filed the returns State:
and the tax years. .......................

 

Federal:

l.ocal:

 

 

 

§ 29. Family support
Exarnpies: Past due or lump sum alimony, spousal support child support maintenance divorce settlement property settlement

MNO

 

    

 

 

 

 

  

 

Yes. Give specific information............. §
Alimony: $
§ Maintenance: $
§ § Support $
§ Divorce settlement $
§ Property settlement $
l
1 30. Other amounts someone owes you
Examples: Uhpaid Wages, disability insurance payments, disability benefits, sick pay, vacation pay, Workers' compensation,
Social Security benefits; unpaid loans you made to someone else
E§ No
m Yes_ Give specific information ...............
$

 

 

 

Off':oial Form 106A/B Schedu|e AIB: Property page 7

Debtor 1 Matha Cantey Case number (r'n<ncwni
First Name Middle Narne Lusl Narne

31. lnterests in insurance policies
Examples: l-lea|th, disability, or life insurance; health Savlngs account (HSA}; credit, homeowners or renter’s insurance

WNo

ina Yes' Name the ipsuranm_a C?mpany Company name: Beneticiary: Surrender or refund value'_
of each policy and list its value

 

 

 

_ 32. Any interest in property that is due you from someone who has died
lf you are the beneficiary of a living trust, expect proceeds from a iife insurance policy, or are currently entitled to receive
property because someone has died.

a No

;i_§: Yes. Give specific information_...._________

 
 

 

63

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

  

 

l 3

,m;!»iYes‘ Describe each c|alm. §

34.0ther contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
` to set off claims

inn No
Yes. Describe each claim. ................. g

  

 

 

 

' 35.Any financial assets you did not already list

i:é§No

gunn Yes. Give specific information............ $

 

 

 

 

- 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 800
for Part 4. Write that number here ") $

 

 

 

 

 

37. Do you own or have any iega| or equitable interest in any business»re|ated property?
§-Z§ No. Go to Part 6.
iii ‘c’es. Go to line 38.

Current value of_t`he . . ` -
portion you own?- -.

Do_ not d_educt'se_cured claims "

or exemptions - .

SB.Accounts receivable or commissions you already earned

§§ No

Ei§ Yes. Describe ....... g L$

 

 

39_ Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems. printers, copiers, tax machines, rugs, telephones, desks, cnairs. electronic devices

@No

§ § Yes. Describe ....... §$

 

 

 

 

Oflioial Form ‘lt)GA/B Schedu|e AIB: Property page 8

 

 

 

CaS€ 1-17-45968-060¢ DOC 12' Filed 11/30/17 Entered 12/01'/17 11203':55' "

Debior 1 Matha Cantey Case number rmmawm

Firsl Narne M\dcl|e Narne Last Narne

40. Nlachinery, fixtures, equipment, supplies you use in business, and tools of your trade

  

 

l
Yes. Describe.......§ §$

 

' 4¢. inventory
@§ No

§U§ Yes. Describe....... $

 

 

  

 

 

 

42. interests in partnerships orjoint ventures

§§ No

  

 

 

|;'!§ Yes' Describe """" Name of enlity: % of ownership:
% ss
% $
% $

 

43.[§_1.1§tomer listsl mailing lists, or other compilations

li

§ No

_El§ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

§Ei-§No

 

 

 

Yes. Describe.....,..

 

 

 

 

 

 

 

 

 

 

 

 

§
§ $
§ .
M.Agy business-related property you did not already list
Z§ No
i;l Yes. Give specific $
information .........
$
$
$
$
$
l 45_ Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ {]
for Part 5. Write that number here 9

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest ln.
' lf you own or have an interest in farmland, list it in Part 1.

 

 

46. Dg you own or have any legal or equitable interest in any farm~ or commercial Hshing-related property?

16 No. Go to Part 7.
§:;: Yes. Go to line 47. n n
Curre`nt_va|ue of-tl‘_le '_ § ' §
portion you own? ` _ ,
Do' not deduct secured claims n
or exemptions`. ` f _ ;_ '
47. Farm animals

Exampies: Livestock1 poultry, farm-raised fish
r““““:
j. No

g Ves

 
 

 

 

Officia| Form 106A)'B Schedule AIB: Property page 9

 

'CaS€ 1-17-45968-060 DOC 12l Filed 11/30/17 " Entered 12/01/17 11203:55

Debtor 1 Matha Cantey Case number urknown;
First Name lvllddle Name LastNarna

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

i
!

48. Crops-~either growing or harvested
ime
§U NO i :
¥es. Give specific § §
information ..,....._...§ § 5
49.Far_n1 and fishing equipment, implements, machinery, fixtures, and tools of trade
U§ No
$
§
§ $
51.Amgy farm- and commercial fishing-related property you did not already list
mw No
§El Yes. Give specific
informationl $
n 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0
for Part 6. Write that number here 9
Describe All Property You Own or Have an lnterest in That, You Did Not List Above
53. Do you have other property of any kind you did not already list?
' Exampi'es: Season tickets, country club membership
No §
§Ej_§ Yes. Give Speoit`lc § § '
information ..._________§ §
§ z
§ z
§ 54. Add the dollar value of all of your entries from Part 7. Write that number here 9 $ 0
List the Totals of Each Part of this Form
- ` 120000|)
. 55.Part1: Tota! real estate, line 2') ' $
56. Part 2: Total vehicles, line 5 $
57. Part 3: Tota| personal and household items, line 15 $
; _ _ 800
. 58.Part 4: Tota| financial assets, line 36 $
` 59.Part 5: Tota| business-related property, line 45 $ o
SO.Part 6: Total farm- and fishing-related property, line 52 $ 0
61.Part 7: Tota| other property not listed, line 54 + $ 0
62.Total personal property. Add lines 56 through 61. $ 800 Copy personal property total ") + $ 800

 

 

$ 1200800

 

 

 

Officia| Form 106AIB Schedule A!B: Property page 10 i

:Case 1-17-45968-cec DOC 12 Filed 11/30/17 Ente`red 12/01/17 11:03:55

Debtor 1 Matha Cantey

Firsl Name Midd|e Name Last Nama

Deblor 2

 

(Spouss. if filing) r=irsr Name trialer Namn L¢sr N¢me
United States Bankru ptcy Court for the: EA§TERN District of NEW YORK

case number D Check if this is an
("k“°“'“) amended filing

 

Official Form 1060
Schedule C: The Property You Claim as Exempt ms

Be as complete and accurate as possible |f two married people are filing together. both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Ofl`rcial Form 10BA/B} as your source, list the property that you claim as exempt ii more
space is needed, till out and attach to this page as many copies of Part 2: Addr'tional Page as necessary On the top of any additional pages, write
your name and case number (ii known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

§§ identify the Property vw claim as exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is rilr'ng with you.

El You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
Cl You are claiming federal exemptions 11 U.S.C. § 522(b)(2}

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on _'.Current value of the . ._Ar_‘nount_ of the exemption you claim __ '- Specif_ic laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

_Schedr.rle_A/B_thatl_i_sts this property -_ - portion you ov.'n_ _ _ _ _ §_ __ _ _. _ _ . _ _ . __
' n n ' nn n nn z ' n ' ' '- Copy the value from _- _Ch_eckonly-one_'box_foreach_ exemption 2.

Brief Checking Accmmt Debtor & Creditor 282(2)(2);
description: $ 800 l;l $
Line from 100% affair market varue, up to
Schedur‘e A/B; any applicable statutory limit
B§_ef ' Household Assets ` " D_l:t&€dt"zs 1 `

r e or re 1 or gi },
description: $ 5000 m $ _ _
Line from m 100% of fair market value, up to §
Schedu,re A/B; any applicable statutory limit
Bnef _..._......Residence Morwge Paid lo , ,, ,, . . .
description: F”]]---_-_ $ 700000 m $ MMLM _
Line from 100% ot fair market value, up to §

 

 

 

Schedu!e A/B_- any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
{Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

a No
El Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

Cl No

Ochial Form 1060 Schedule C: The Property You C|aim as Exempt page 1 of_

 

 

CaS€ 1-17-45968-0€0 DOC 12 Filed 11/30/17 'Eiilei‘ed 12/01/17 11203:55

Debtor 1 Matha letey Case number ririrrawrr]
l-'irst Name Middil Name l.asi Nsme

 

 

 

" Addirionai rage

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B:

Ofi`icial Form 1060

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

` brief description of the property-and line _'Current value of _th_e_ 'Arnount of the exemption you claim " _S__pecific laws that allow exemption `

_ `o_n Scbed'uleA/B that lists_th_is_prope_rty_ " _' _ portion-you_o\rrrn :_ § -. _.- - ' .. ;__- _._ ._' . _ _ ._ - - _ . _
. - _ . _ - ._ ._ _ - . .. _ _ - : - _ _- _. § .COp-y the value from § _ ..Check Onlyon'e b'O.x breach exemption §

' _ ScheduieA/B - '.-.--. ' _.'_ -_ _

errer Fa““ly Resid"“°e 5000§§0 n minor & erectith 232(11,

description: $ $ Szu 5 ;]§_ § §§ _

Line from 100% of fair market value, up to

Scheduie A/B: any applicable statutory limit

Brief

description: $ m $

Line from l:l 100% affair market value, up to

Schedr.rie A/B: _ any applicable statutory limit

Brief

description: $ n $

Line from El 100% affair market value, up rr;.

Schedule A/B.' _ any applicable statutory limit

Brief

description: $ l;l $

Line from l;l 100% of fair market value, up to

Schedule A/B: any applicable statutory limit

Brief

description: 5 El $

Line from El 100% of fair market value, up to

Scheduie A/B: _ any applicable statutory limit

Brief

description: $ n $

Line from El 100% of fair market value, up to

Scheduie A/B: _ any applicable statutory limit

Brief

description: $ El $

Line from El 100% of fair market value, up to

Scheduie A/B_- any applicable statutory limit

Brief

description: 5 a $

Line from il 100% of fair market value, up to

Sr:heduie A/B; -»W»-»- any applicable statutory limit

Brief

description: $ l:l $ l

Line from a 100% of fair market value, up to

Scheduie A/B_- __ any applicable statutory limit

Brief

description: $ a $

Line from a 100% of fair market value, up to

Scheduie A/B_- any applicable statutory limit

Br|ef

description: $ ll $

Line from a 100% of fair market value, up to

Schedule A/B: _ any applicable statutory limit

Brief

description: 3 Cl $

Line imm El 100% affair market value, up to

 

any applicable statutory limit

Schedule C: The Property You Claim as Exempt page _ of_

 

 

Case 1-17-45968-`0@0 `

oebiari Matha

'D'O"C 12` 'Fi|e'd 11/30/17

Ca:ltey

 

First Name

Debtcr 2

Middle Neme

L.astName

 

(Spouse, if §i§ng} rire.i Name

United States Bankru ptcy Court for the:

Case number

Mido|e blame

EASTERN D§Stricto§ NEW YoRK

L.aat Name

 

l|f knownl

 

 

Ofiicia| Form 106D

 

Scheciule D: Creditors Who Have Claims Securecl by Property

`En'tered 12/01/17 11:03:55

n Check itthis is an

amended filing

 

12115

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
lnformatiori. |f more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. _["')Wo“ any creditors have claims secured by your property?
aj No. Check this box and submit this form to the court With your other schedules You have nothing else to report on this form.

 

   

'Yes. Fili in all of the information below.

 

List All Secured Claims

 

 
   

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

zl_ _List all secured cla_ims. lt a creditor has more than one secured ciaim, list the creditor separately -
for each ciai_m. |f more than one creditor has _a particular claim, list_the other creditors in Part 2. _ - '
` _`As_much`_as possible iist the:clai_ms in alphabetical order`accorcting to the creditors nam_a__. § _ _ .
g Cbrysler Capital Describe the property that secures the claim: $ 2000|} $ 5000 $ 15000
c cri ' N
re mrs amé Household Assets
P.o. Box 660647
Number Street
As of the date you fi|e, the claim is: Check ali that apply.
§;l Contingant
Dallas TX 75266 Ci unliquidated
City Slale ZlP Code a Dispuied
Wh° °WGS the debt? Check O"E-‘- Nature of lien. Check all that apply.
d 993th 1 0an An agreement you made {such as mortgage or secured
a Debtor 2 only car toan)
m Debtm- 1 aan Debt@rz only § Statutory lien (such as tax lien. mechanics |ien)
a At least one of the debtors and another a Judgmel'lt lien from 3 |HWSU“
El other (inciuding a righiio arisen A“t”
l:l Check if this claim relates to a
community debt
Date debt was incurred May 2004 Last 4 digits of account number _ _ m
g Clear SPFing L°all Ser"ices Describe the property that secures the claim: $ 2000|]0 $ 800 $ 199200
~ c d‘i i' N
§ m m S ama Checkirig Account
P.o. Box 4869, Dept. 446
Nurnber Street §
As of the date you file, the claim is: Check atl that app!y.
§ a Coniingent §
§ Houston TX 7721|) El unliquidated § _
5 city state ziP code §;] memth
4 Wh° owes the debt? Check one- Nature of lien. Check all that appiy.
§ g Debi°r 1 O'"'|i' a An agreement you made (such as mortgage or secured §
§ n Debtor20n|y carloan) §
§ §;l Debtor1 and Debtor2 only m Statutory lien (such as tax lien, mechanics iien)
§ D At least one of the debtors and another n Jl-ld§mer\t lien from 3 lawsuit
1 . . . Mortgage
§ [:l Other (inc|uding a right to offset)
§ ill check if this claim relates to a
1 community debt
i 8962
§ Date debt was incurred July 2006 Last 4 digits of account number_ _ _
§ - '_ Add the dollar value of your entries in Column "A on this page. Write that number-here: ' ' ` §$_ZZD_G_G_L","W
Official Form 1060 Schedule D: Creditors Who Have C|aims Secured by Property page 1 of _

Case 1-17-45968`-0€€ DOC 12 Filed 11/30/17 Entere`d `12`/01/17`1`1:03:55 "

Matha Cantey

Flrst Nama Midd|e blame Last Narne

Debtor 1

Case number (rrkmwm

 

 

 

   
  

Additional Page

 

- Atter listing any entries on this page, number them beginning with 2.3, followed
by 2. 4, and so forth.

 

 

- First Fl°anklin Describe the property that secures the claim: $ 75000[| $ 700£]0(} $ 50000

 

 

 

 

 

 

 

 

 

 

 
 
 

 

 

 

 

 

 

 

 

 

 

§ Credltci‘a Name
538 Broad HallOW Rd Residence Mortage Paid In Full
Numbor Street
As of the date you1f` le the claim' ls: Check all that apply §
Mavine NY 11747 53 Contingem
city state ZlP Code § uniiquiaat@a 5
a Disputed
§.JM’\O OWES the debt? Check orle- Nature of lien. Check all that apply.
§§.ée DebeH Un|l' ia An agreement you made (such as mortgage or secured
f_§;1§ DebtorZ only car loan} c
|;l§ Debtor 1 and Debtor 2 only cl Statut°W lien (Su°h as tax lien' mechanicls new §
[;l: At least one of the debtors and another m JudeP-m lien from 3 lawsuit §
g Other (including a right to offset) Mortages .
n Check if this ctaim relates to a §
community debt .
Date debt was incurred J“ne 2006 Last 4 digits cf account number Wg# w _____ _ §
i
_2'4 l Mol'tage Lenders Netwm'k Describe the property that secures the claim: $ 600900 $ 509090 $ wagon §
Creditor's Name , §
. . §
240 Gibraltar Rd Farm]y Resldence
Number Street §
' ' ' : k 11 th t l .
`_ Ste 150 As cf the date you f1|e, the claim is Chec a a appy
§ m Contingent
Horsham PA 19044 El unliquidated
City State ZIP Code m D§Sputed

Who owes the deht? Check one.

a Debt°r 1 only An agreement you made (such as mortgage or Secured
ebtor 2 only car loan)

y r_ ebfor 1 and Debel’ 2 Only n Statutory lien (such as tax lien, mechanics licn)
. At least one of the debtors and another n Judgment lien from a lawsuit

§
Nature of lien. Check all that apply. §

l

l
El other (including a rightto onset) H°me M°l‘tage § l

l

l

l

    

 

El Check if this claim relates to a
community debt

 

 

 

 

 

 

 

 

 

 

 

 

 
 

Date debt was incurred -I“ly 2006 L.ast 4 digits of account number _ _ m
.2_5| R“Shmore Loan Managemem Svcs Describe the property that secures the claim: $ 200000 $ 800 $ 199200
Creditcir’s Name _ t §
P.o‘ Box 52708 Checkmg Account §
Number Street §
As of the date you fi|e, the claim is: Check all that app|y_
Irvine CA 92619 Cl Comiegent
City State Z|P Code n Un|iquidated §
m Disputeci
Who owes the debt? Check Or\e - Nature of lien. check au that apply
h Debtoi 1 Onil" g An agreement you made {such as mortgage or secured
§____ “ Debtor 2 only Cal' ioai'\}
§ _|;_‘_| Debtor 1 and Debtor 2 only m Statutory lien (such as tax!ien, mechanics lien)
§ §D§ At least one of the debtors and another g Judgment lien from a lawsuit

 

n Other [including a right to offset) Mortgage §
El Check if this claim relates to a .
community debt

Date debt was incurred J“ly 2006 Last 4 digits of account number_1972_

 

Add the dollar value of_ your entries' m Column A on this page_. Write that number here: $ 1550000 z

 

lf this' 1s the last page of your form, add the dollar value totals from all pages.
Write that number here: $

 

 

 

Ochial Form 1060 Additional Page of Schedu!e D: Creditors Who Have C|aims Secured by Property page _____ of __

Case 1-17-45968-0@0`

Matha

Debtor 1

DOC 12 Filed 11/30/17 Entel’ed lf|_2/Of|_/f|_7 11203:55

Calttey Case number (r'fknowrl)

 

Firsi Name Middle blame

Last N ante

 

Addit:ional Page

After listing any entries on th
by 2.4, and so forth.

 

is page, number them beginning with 2.3, followed

   

 

 

 

 

 

 

 

 

 

 

 

  
 
 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

m- Select P°f'tfoli° Servicillg Describe the property that secures the claim: $ 600000 $ 800 $ 599200
Creditor`s Name
P.o. Box 65250 Checking Account -
l Nurrlbor Sireet l
§ l
As of the date you fi|e, the claim is: Check ali that app|y. §
§ Salt Lake City UT 84165 E] C°"'tl*"§le"t l
City Staie Z|P Code n Unliquidated l
i n Disputed
§_yl;[:lo owes the debt? Check one. Nature of lien. Check a|lthat app|y_ l
§ " " Deb§°r l only a An agreement you made (stlch as mortgage or secured
l;_l,§ Debtor 2 only Car loan)
§ Debior § and Debto,- 2 only n Statutory lien {Such as tax lien, mechanics |ien)
' E: . . i
§ §§ At least one of the debtors and another n Jud§me“t hen from a lawsuit
m Otl'ter (inc|uding a light to offset) Mortgage
El check if this claim relates to a §
community debt §
- J 1 2006 ' 3°20
Date debt was incurred “ Y Last4 digits of account number Hg w _ _
.._._| Describe the property that secures the claim: $ $ $ §
Creditors Narrle §
Number Street §
As of the date you tile, tile claim is: check all that apply
a Contingent 5
§ E} unliquidated
f city state ziP code g D.|Spu§ed
W§i‘° owes the debt? Check one' Nature of lien. Check all that app|y.
.|;l Debtor 1 Omy l:l An agreement you made (sucl'i as mortgage or secured
§ tr Debtor 2 only car loan)
§ Debior l and Debtor 2 only n Statutory lien (such as tax |ien, mechanic’s lien)
l § At least one of the debtors and another l:l Jtldgment lien from a lawsuit
ill check if this claim relates te a n Ot'"e' {'"°'"d”‘g a "9"“° °"Se°
§ community debt
Date debt was incurred Last 4 digits of account number __ _ _m
.__.l Describe the property that secures the claim: $ $ $

 

 

Creditot’s Narne

 

 

Number Stt'eei

 

 

 

 

 

As of the date you fi|e, the claim is: Check all that appiy.
m Contl'ngent

 

city State zlP code

 

§ Who owes the debt? Check one.
§ §
t.f_]§ Debtor 1 only

Debtor 2 only
`: Debtor1 and Debtor 2 only
At least one of the debtors and another

 

n Check if this claim relates to a
community debt

 

Date debt was incurred

n 'Add the dollar §value _of your e_nt

§ if this is the last page of your form, add the dollar value totals from all pages.

Writethatrtumbet here.:…

Ofncial Form 1060

Additiona| Page of Schedule D: Creditors Who Have C|aims Secured by Property

l;l Un|lquidated
n Disputed

Nature of lien. Check all that apply.

n An agreement you made {such as mortgage or secured
car loan)

l._.l Statutory lien (such as tax iierl, mechanics llen}

n Judgmeni lien from a lawsuit

53 Other (including a right to offset)

Last 4 digits of account number _

rides iri ¢olumn _A o_n this page. Write that number here:: $ 600000

 

 

 

page _ of _

 

   
    

 

Case 1-17-45968-0€€ DOC 12 Filed 11/30/17 Entered 12/01/17 11:03§55

Matha Cantey

First Narne Mlddle Name Last Narhe

Debtor 1

 

lI}ebtoir 2
{Spouse, if filing) rirst Name Mldule Name Last Name

 

United States Elani<ruptcy Court for the: EASTERN District of NEW YORK

 

L_.l Check lithis is an

Case number amended filing

(|f known)

Official Form ‘lOGE/F
Schedule ElF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part1 for creditors with PR|ORlTY claims and Part 2 for creditors with NONPR|OR|'[Y claims.
List the other party to any executory contracts or unexpired leases that coqu result in a claim. Also list executory contracts on Schedul'e
A/B: Property (Ofticial Form 106AIB) and on Schedul'e G: Executory Contracts and Unexpi'red Leases (Ofl'icia| Form 1066}. Do not include any
creditors with partially secured claims that are listed in Schedul'e D: Cred.ifors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number {if known).

 

 

 

 

List All of Your PRIOR|TY Unsecurecl Claims

 

 

1. 7l;ln_c)__`ar\y creditors have priority unsecured claims against you?

5 er~fo co 10 pari 2.

.2. _' List all of your priority unsecured claims. |f a creditor has more_than one priority__unsecured__claim, list the creditor separately for each claim._For §§ nn v
‘ - ?each claim llsted, identify what type of claim it is. li a claim has both priority and honpriority amounts list that claim here and show both priority and

'- _-`nonprlori_ty amounts As much as possible, list the claims m alphabetical order according to the creditors name. |f you have more than two priority -' `
unsecured ciaii'ns_, till out the Co_ntinuation P.age of Part 1.|f1‘n_cire than one creditor holds a particular claim,' list the other erectitr:ir_sl in Part 3, ' '

(For an explanation of each type of claim see the instructions for this form' in the instruction booklet )

 

 

 

 

 

 

 

 

 

 

 

 

 

2.1
Last 4 digits of account number W *M* w __ $ $ $

5 Priority Creditor's Name

§ When was the debt incurred?

§ Nurnt)er Street

§ As of the date you file, the claim is: Check all that applyl

city slate zlP code m Comingent §

_ o Cl unliquidated §

Who incurred the debt. Check one. a Disputed 1
m Debtor1 only

§ [;l Det)tor 2 only Type of PR|OR|T‘( unsecured claim: 1

§ § Debt°r 1 and Debwr 2 only a Domestic support obligations §

§ m least ana Of the siewa and another i;l Taxes and certain other debts you owe the government 1
n check 'f th'S claim '5 for a commumty debt E._.l C[aims for death cr personal injury while you were l
ls the claim subject to offset? ‘"t°x'“ated 1

§ g NO El other specify 1

l E] ‘(es

|2.2. |

Last4 digits of account number _____ _ _ _ $ 35 $

 

Prlority Creditor’s Name
When was the debt incurred?

 

 

 

Nurriber Street
if As of the date you file, the claim is: Check all that apply
l
l;l Contingent
city stale zlP came l:] Unllquidaied
Who incurred the debt? Check one. n DiSPUTSd

a Debtor1 only
5 m Debtor2 only
§ m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

l Cl cl' f o iii l" '
§ Cl Check if this claim is fora community debt alma er ea orpersona |muw wh|le you Were

Type of PR|OR|TY unsecured claim:
El Domestic support obligations
n Taxes and certain other debts you owe the government

 

 

intoxicated
ls the claim subject to offset? ij Other_ Specify
U No

 

 

Ofncia| Form ‘lOSE/F Schedule ElF: Crectitors Who Have Unsecured Claims page 1 of_

 

 

Case 1417-4596`8-0@0

Debtor 1 Mtltha Carltey

DOC 12 Filed 11/30/17 Enier€d 12/01/17 11203:55

Case number rirkndwii)

 

Flrst Narne Nllddle Naml List blame

  

nfter'listing any'ent_ries on .th_is page,- number them beginning with 2,;’_»_, followed by _2.4._. and so forth.__ "

 

j

g Your PRloRlTv unsecured claims - continuation edge

 

 

 

 

 

Prii:irityl Creditor’s Name
Number Slreet
City State Zil`-‘ Code

Who incurred the debt? Check one.

a Debtor‘l only

n Debtor 2 only

i;l Debtorl and DebtorZ only

Cl At least one of the debtors and another

E;l Check if this claim is for a community debt

ls the claim subject to offset?

El No
i;l Yes

 

 

Last 4 digits of account number ____ ____ $ $ $
When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

m Coniingent
§ Unliquidated
m Disputed

Type of FR|OR|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the govemment

Claims for death or personal injury while you were
intoxicated

Other_ Speciiy

D E|EU

 

 

 

 

Oiiicial Form 106E1'F

 

Pn`ority Creditors Name

 

Number Street

 

 

City Slate Z|P Code

Who incurred the debt? Check one.

m Debtor 1 only

n Debtor2 only

i:l Debior 1 and Debtor 2 only

a At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

Ell No
cl ¥es

 

Prlority Creditor`s Name

 

Number Street

 

 

City Siaie Z|P Code

Wbo incurred the debt? Check one.

El Debtori only

n Debtor 2 only

m Debtor 1 and Debtor2 only

m At least one of the debtors and another

i;l Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

Last 4 digits of account number _ $ $ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

cl Contingent
El unliquidated
[;l Disputed

Type of PRlORlTY unsecured claim:

ij Domestic support obligations
i;i Taxes and certain other debts you owe the govemment

n Claims for death or personal injury while you were
intoxicated

Ci Other. Speci§y

 

 

Last 4 digits of account number $ $ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

ii Contingent
il Unliquidated
a Disputed

Type of PR|OR|TY unsecured claim:

cl Domestic support obligations
m Taxes and certain other debts you owe the government
El C|aims for death or personal injury while you were

 

intoxicated
n Other. Specify

 

Schedule ElF: Creditors Who Have Unsecured Ciaims page __ of M

 

 

CaS€ 1-17-4596'8-0"(§0 ' DOC'§'|_'Z Fi'|ed 11/30/17 Entere'd 12/01/17 11203:55

Debtor t Matha Ca"te}’ Case number iiiinewn)
First Name i\iiidd|e Name Last Narne

List All of Your NONPREORIW Un$e¢:tired Claims

 

 

"- 3. iga any creditors have nonpriority unsecured claims against you?
F"l

!E[`- No. You have nothing to report in this part. Submit this form to the court with your other schedules
3. Yes
a:‘_r‘"~‘"_ . . .

" 4.- List all of your nonpriority unsecured claims in the -atphabetical order of the creditor who holds each clairri. |f a creditor has more than one

nonpriority unsecured ciairn, list the creditor separately for each ctairn.. For each ciairn listed identify what type of claim it_` is. Do not list claims aiready
included in Part 1 if more than one creditor holds a particular claim list the other creditors' in Part 3 if you have r_nore than three nonpriority unsecured
claims ii|_l out the Continuaiion Page of Part 2. - . . . . _ . . .

`>
i
t
'i
i

 

 

 

 

 

 

l 4`| Bjs Last 4 digits of account number _____ ___ __ _
Nonpriority Creditor’s Narne $ 10000
P_ o Box 659334 When was the debt incurred? Juo 010
Number Street
Sari Antuoio TX 78265-9134
city craig zip Code As of the date you file, the claim is: Check all that app|y.
> m Contingent
3 Who incurred the debt? Check one. i;| Ui-iiiquidaiod
` d Debtor1 only o Disputed
i B Debtor 2 only
§ 13 Debtor1 and Debtor 2 only Type of NONPRIDR|TY unsecured claim:
5 At least one of the debtors and another in Siudem wang

m check if ii.iis ciiiiri.i iS for a community debt El Ob|igations arising out of a separation agreement or divorce

 

 

 

 

 

 

 

 

that you did not report as priority claims

ls the daim Sub}e°t to offset? a Deth to pension or profit-sharing plans, and other similar debts
g No iii Other. Spec`ify Cl‘edit Card
a Yes l
4.2 | Capitai One Baok Last 4 digits of account number ____ _ _ _ $ 5000
l Nonpr`iority Creditors Name When Wa$ the debt incurred? l]_o_§mwmm_
P.n. Box 30sz
Number Street
t f'l t ' ` : t . `
; Salt Lake City UT 84130__0287 As of the da c you ie, he claim is Check all tha apply i
City state ziP code n Coniingem i
1

Who incurred the debt? Check one. cl U“lilluidaf@d
d Debtor 1 only E] Disputed
a Debtor 2 only

i;i Debior 1 and Debtor 2 Oniy Type of NONPR|OR|T¥ unsecured claim: ‘

 

 

 

n At ieast one of the debtors and another n Student loans i
_ _ _ _ m Obligations arising out of a separation agreement or divorce
El Check if this claim is for a community debt irioi you did not report as priority oioiroS
is the claim oubioci to offset-ii n Debts to pension or profit-sharing pians, and other similar debts
" g ND q Other. Specify Cl‘edit Cal’d
cl Yes
|
4.3 | . . _ _ i
Cltibank Last 4 digits of account number _ z

 

~_ __ s 10000 i

Non riori Creditor‘s Name
p ty When was the debt incurred? 2005

P.o.hex 70913

Number Street

Charlotte NC 28272
city state z§i= code

 

 

As of the date you fi|e, the claim is: Check atl thatapply.

 

 

a Contingent
Cl unliquidated
m Disputed

Who incurred the debt? Check one.
m Debtor‘l only
n Debtor2 only

m D‘°'b*°" "‘“d Debt°" 2 °"'V Type er NoNPRioRn'v unsecured claim:
E] At least one of the debtors and another

n Student loans
n Check if this claim is for 3 C°mmu“ity debt n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
a Deth to pension or profit-sharing plans, and other Similar debts

m Other. Specify COIIe€tiolt

r ls the claim subject to offset?
§ No
cl Yes

 

 

 

 

Official Form 106E!F Schedule E!F: Creditors Who Have Unsecured Claims page W of

CaS€ 1-17-45968-'0€0 DOC 12 Fi|éd 11/30/17 Entel’ed 12/01/17 11203255

Debtor 1 Matha Cantev

First Narne Mlcidie Name Last Naine

  

Case number (rrinuwni

Your NONPR|OR|TY Unsecured Glaims - Contiriuation Page

 

 

 

 

 

After listing any entries on this p_age, number them -b__egi_nning_with 4.4,_followed by 4.5, and so forth. _ '

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.4 . .
C[m Edisml Last 4 digits of account number _ _ m m $ 5000
Nonpriority Credilcr‘s Narns
= . When was the debt incurred? Jaiiua 1998
§ Cooper Station P.o. Box 138
f N b S l
j um er treat As of the date you fi|e, the claim is: Check all that app|y. §
NV€ NY 10276~0133 !
ciiy sure ziP code U Con:ingeni _
ill unliquidated §
Who incurred the debt? Check one. g Disputed l
6 Debt0r1 only l
n Debtorz only Type of NONPR|OR!TY unsecured C|aim: §
§ Debtor1 and Debtor 2 only § Studem loans
At least one of the debtms and another § Obligations arising out of a separation agreement or divorce that 5
3 Check if this claim is for a community debt you md not report as pr'?r'ty cl?lms _ _
l a Deth to pension or profit-sharing plans, and other similar debts §
§ ls the claim subject to offset? a Other. Speciiy Utili§[ §
= s
§ a No §
5 n Yes
45 Last 4 digits of account number fNy $ 100
§ Gujlda Jr. Edward F #141 _ _ _' '”'" __m
Nonprlorily Credltor’s Narns 2016
§ When was the debt incurred?
47-26 104th St
3 N b si r
m er rea As of the date you file, the claim is: Check all that apply.
§ Corona NY 11368-2811
§ City slate ziP Code E| Coniingent
5 El unliquidated
' Who incurred the debt? Check one, cl Disputed
d Del:>tori only
z El oebiorz uniy Type or NoNPRioRn'Y unsecured claim: :
El Debiuri and oebsorz uniy m Smdemloans
m At least One of the debtors and another El Obligations arising out of a separation agreement or divorce trial
E] Check ii this claim is for a community debt you did not rental as priority claims ' d
l:] Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? ether_ gpecify Vacate
m No
L-J Yes
4.6 _ $ 2000
Kohls Last 4 digits of account number ___ _ _
Nonpriorlly Creditor's Name
When was the debt incurred? 2005
P.o. Box 2983
N b si t
um er ' fee AS of the date you file, the claim is: Check all that app|y.
Milwaukee WI 532{]1
City State Z|P Code l;l Contingent

Who incurred the debt? Check one.

6 Debtor t only

n Debtor 2 only

a Debtor 1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

d No
l n Yes

Otiicial Form 106Ei'F

El unliquidated
n Disputed

Type ot NONPR|OR|TY unsecured claim:

m Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or prolit-sharing plans, and other similar debts

a ther_ Spegify Credit Card

 

 

Schedu|e ElF: Creditors Who Have Unsecured Claims

 

page __ Of M

 

 

 

 

Debtor t Matha Cantey

F`llet Narne Middlc- Narne Last Name

 

CaS€ 1-17-45968-0€0 § DOC`12' Filed 11/30/17 Entel’ed 12/01/17 11203:55

Case number (irlrnowni

_ Your NONPR|ORITY Urisecured Claims - Contiriuation Page

 

§ After_'i_is_ting any entries-nan this_'page, number them beginning with 4.4_, followed_tiy 4.5_, and so forth. .

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.'7 . . §
§ National Grid Last 4 digits of account number _ _ __ __ $ 7000 l
- Nonpriorlly Credilors Name 1
j When was the debt incurred? December 2010 ;
; Pob 11741 ,
1 N b Sl t §
um er rea As of the date you tile, the claim is: Check all that apply. 5
Newark NJ 07101
city stale ZEP Code Cl Contingeni §
l l
n Un|iquidated l
Who incurred the debt? Check one. |;] Disputed §
d Debtor1 only §
D Debtor2 only Type ot NONPR|OR|TY unsecured claim:
§ Debtor‘i and Debtor2 only m Studem|oans §
§ At least me of the debtors and another n Obligations arising out of a separation agreement or divorce that §
5 Check if this claim is for a community debt you md not mgmt as pr'or'ty C|zums _ _ §
l;l Deth to pension or pmm-sharing plans, and other similar debts l
ls the claim subject to offset? a ethel Spac;fy Uti]ig[ ‘ §
§ m No §

g Yes §
_4-3 _ Last 4 digits of account number 04'5 $ 500
§ Gptimum __ “'“‘ _ _
§ Nonprlon`ty Credllor‘s Name §
§ _ When was the debt incurred? September 2011 “;
j 200 Jericho Quadraitglc i
N b Sl`. t §
§ um er rea As of the date you file, the claim is: Check all that apply. j
3 Jericho NY 11753 l

City state zlP cudd l:.l Cnntingent

l n Un|iquidated

Who incurred tire debt? Check one. [_] Disputed

il Deblor 1 only
§_ Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
§ Debtor 1 and Debtor 2 only cl Studenuoans

At least one or the debtors and another n Ob|lgations arising out of a separation agreement or divorce that
m Check if this claim is for a community debt you did not report as monty c!_a|ms . .
g Debts to pension or profit-shaan plans, and other similar debts y

ls the claim subject to offset? Other_ gpec;fy Unsecured

U No

cl Yes
L| L t 4 d` 'ts f t b r $ 0 0 §
The Home Depot as igl o accoun num e _ _ _ _ M_--!
§ Nonpriorlty Crediios’s Narne i
When was the debt incurred? 2005 5
P.o. Box 9001010 §
§ N b st l . . §
um ar rae As of the date you tilel the claim is: Check all that app|y. l
5 Louisville KY 40290~1010 l

City State ZlP Code El Contingent

Who incurred the debt? Check one.

l 6 Debtorl only

Cl Debldr 2 only

n Debtor1 and Debtor 2 only

l n At least one of the debtors and ariother

Cl Check if this claim is for a community debt

ls the claim subject to offset?

d l\|o
\;1 Yes

El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

n Ob|igaticns arising out of a separation agreement or divorce that
you did not report as priority claims

El Debts to pension or pront»sharing plans, and other similar debts

other, specify Credit Card

 

 

Oflicial Form 106E/F

Scheduie ElF: Creditors Who Have Urisecured C|aims

page 6_ Of _L_

 

 

 

Debtol‘ 1

§ Case 1-17-45968-`0@0

Matha

Firs! Name

Cantev

Mlt:td|e Name Last Name

  

§ r

Af._ter-|isting any entries on this page, number them§begi_nri§ing _w§_th 4.4_,§fo|lowe_d_by 4.5, and so forth.

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Case number iiiidrnwnl

§§ Your NONPR!OR|TY Urisecured Claims - Continuation Page

 

 

4.1(}

 

 

 

 

 

 

Last 4 digits of account number §03_ m W

 

ti 120000

 

 

 

 

 

 

 

 

 

 

 

 

 

§ Wells Fargo Home Mortgage §
Nonprinrity Credl'ior's Name 2007
- When was the debt incurred?
§ Pob 10328 .
§ N b st t '
§ um sr rea As of the date you file, the claim is: Check all that apply. ;
§ Des Moiues IA 50306 §
city state zlP code C| Coniingent §
§ _ C| unliquidated
who incurred the debt? check one. El Disputed t
i fl oat-tort only
.; El Debtor 2 only Type of NONPR|OR|TY unsecured claim:
§ § Debtor‘l and Debtor 2 only cl Studem loans
At §EEB§ one of the debtors and another m Obligations arising out of a separation agreement or divorce that §
: Cl Check if this claim is for a community debt you d§d not re§_]ort as p§§O{§W c ?§ms _ _ l
i §;l Debts to pension or profit-sharing plans, and other similar debts l
§ ls the claim subject to offset? la owen Specify Mm-tgage §
g ND §
n Yes §
§ Last 4 digits of account number ___m TW H_H w $ §
Nonpriority Creditofs Name §
When was the debt incurred?
§ l\i b st t §
. um er fee As of the date you fite, the claim is: Check all that apply. §
City state ziP code El contingent
_ il unliquidated §
Who incurred the debt? Check one. i;] Disputed
n Debtor 'i only
EJ center 2 only Type of NoNPRioRiTY unsecured claim:
g Debtor t and Debtor2 only m Studem §oans r
§ '§‘§`§ §eas§ °§§e °§§ the debtors and an°ther El Obligations arising out of a separation agreement or divorce that
§ Cl Check if this claim is for a community debt you d§d not report as p§§§o§§§ty c§§§§§ms , _
n Debts to pension or profit-sharing plans, and other similar debts §
; ls the claim subject to offset? E| Other_ gpe,;ify
j ill No
§;] yes
__l . . $ l
l Lasl4 digits of account number _ _ ___ ___ §
.' l
Nonpriority Creditor‘s Name §
: When was the debt incurred? §
N tt si t . . . §
um er rea As of the date you fi|e, the claim is: Check all that apply. §
city state ziP code |;.] Contingerlt §

Officia| Form 106E.§F`

Who incurred the debt? Check one.

El oebior t only

m Debtor2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

El Check if this claim is for a community debt

|S the claim subject to offset?

Cl No
U Yes

Schedule ElF: Creditors Who Have Unsecured Claims

El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

El Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
E] other. specify

page 7_ Of _'L

 

 

 

Debtor 1

 

' Case 1-17-45968-0@0
Matha Cantey

 

Firsl blame Midd|e Name Last Name

Add the Amounts for Each Type of Unsecured C!aim

Case number (:rknowni

DOC 12 Filed 11/30/17 Entered 12/01/17 11203:55 '

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

'Tota-|_claims
frorn_Part 1` `

Total claims
1 _fro.m_Parf 2 _

Ochial Form 106E/F

65.

' SC.

6d.

6e.

Sh.

' ei.

Domestic support obligations

. Taxes and certain other debts you owe the

government

C|aims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims
Write that amount here.

Total. Add lines 63 through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

' Bj. Total. Add lines Gf through 6i.

Ba.

Sb.

Gc.

6d.

Ee.

61

Bg.

Eh.

65.

ej.

 

 

 

 

 

 

$ 0
$ 0
$ 0

+ t
$ fl

"l'otal cla__iln n

$ 0
s 0
$ 0

+ $ 166600
$ 166600

 

 

Schedule ElF: Creditors Who Have Unsecured C|aims page _ of _

 

 

 

CaS€ 1-17-45968-¢€¢ DOC 12` Filed 11/30/17 Entered¢`lZ/O`l/l?'11203:55

Debtor Matha

F|rst Narne Midd|e Nsme Last Name

 

Debtor 2
{Spnuss |f filing} Firsl Narnc Mldd|e Narne Last Narne

 

united states Bani<ru ptcy court for the: EASTERNJistrict of NEW YORK

0 b . . .
(i?i`:':o::;n er m Check if this is an

amended filing

 

 

 

Otiicia| Form 1066
Scheelule G: Executory Contrac'ts and Unexpired Leases 12115

 

 

Be` as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it oul, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do_you have any executory contracts or unexpired Ieases‘?
D._.S|\lo. Check this box and tile this form with the court with your other schedules You have nothing else to report on this form.
._;Yes. Fill in all of the information below even `rf the contracts or leases are listed on Schedui‘e A/B: Property (Officia| Form tOSA/B).

  
 
 

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
examp|e, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

. Person or company_with__whom you have.tl'i_e contract_or_lease' " _' -` `_"State what the contractor lease_is.for.

 

Nature: Aul;o, Debtor is lessee

 

 

 

 

 

 

 

 

 

 

§-}21 Chrysler Capital
Name Household Assets, , Debtor intends to retain lease
P.o. Box 660647
Number Street
Dallas TX 75266
City State ZlP Code

22

Name

Number Street
City , , 3th -.Zl-P Q-_°d? .

 

 

 

 

Narne

 

Number Sti'eet

 

city __ __ state th code

 

 

Name

 

Number Street

 

_ City _ _ State ZlP pode_____

 

 

Name

 

§ Number Street

 

City State ZlP Code

Ofncial Form 1066 Schedu|e G: Executory Contracts and Unexpired Leases page 1 of _

CaS€ 1-17-45968-0€0 DOC 12 " F`i|ed 11/30/17 ` Entel’ed 12/01/17 11203:55

center 1 Matha Cantcy ease number umwa
First Name Mioci|e Name Last Name

 
 

Additionat Page if ¥ou Have More contracts or Leases

" Person or company with whom_you h_a_ve t_h_e contract cir-lease _ ' .` . - _. __. . '_ f'_._Wh_at th_e_ contract or lease is .for '

 

 

Name

 

Number Street

 

Ci!y State ZlP Code

 

 

Name

 

Number Street

 

City Sfate Z[P Code

 

 

Name

 

 

Number Street

 

City Sta¥e Z!P Code

 

 

Name

 

 

N umbei' Street

 

City State ZlP Code

 

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

 

Name

 

l Number Street

 

City State ZlP Code

 

i2.13;
yl_#\

 

Name

 

Number Street

 

 

___City State Z_lP Code

Official Form 1068 Schedule G: Executory Contracts and Unexpired Leases page _ ofl_

CaS€ 1-17-45968-0€0 DOC' ¢12 Filed 11/30/17 Entel’ed 12/01/17 11203:55

 

 

 

Debtor 1 Matha Caotey

Fir‘st Name Middle Name Last Name
Debtor 2
(Spouse, if t'iling) First Name Middle Name Last Name

United States Bankru ptcy Court for theEASTERN District of NEW YORK

Case number
(|f known)

 

 

l;l Check ifthis is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors - iziis

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additiona| Page, fili it out,

and number the entries in the boxes on the left. Attacn the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

   

1. Do you have any codebtors? (|f you are fiiing a joint case, do not list either spouse as a codebtor.)

t la No

m Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Ca|ifornia, ldaho, l_ouisiana, Nevada, New Mexico. Puerto Rico, `l'exas, Washington, and W':sconsin.)

El No. en to line 3.
n Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

DNo

l:l Yes. |n which community state or territory did you |i've? . Fil| in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

city state ziP code

3. ln Co|umn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Otficia| Form 106D}, Schedule E/F (Officia| Form 106Ei'F), or Schedule G (Officia| Form 4066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

t Coi'umn1:_¥ourcodelcito`r -'_. '- _-_ - _ ' -._- '_; ' . ' _ 'C_oiurnn 2:'_'|_'_ne c_red_itor_to-_viihom'.you owe'the debt
5 n Check all schedules that app|y: n
3.1
Ci Schedule D, line____m
Name
Cl Schedule E/F, line __ §
Number Street m Schedule G, line a
3.2
El Schedule D, line 3
Name
§ Cl Schedule E/F, line `
§ Number street |;l Schedule G, line
= du § ________ State zir<>ptis,…_ own ….. …WWW t
3.3 §
i;l Schedule D, line §
Name §
i;l Schedule EfF. line
Number street CI Schedule G, line
C'i¥w‘ l_ .. … m.m.mm Mmslale …, ZlP Code

 

 

 

Oflicial Form tOGH Schedule H: \'our Codebtors page 1 ofW

 

 

 

 

Case 1-17-459'68-0€€

Matha

Debtor 1

Cantey

 

First Name

 

Middle Name

Las\ Name

' Additional Page to List llllore Codebtors

Case number (iriinewni

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-Coi'umn 1_.' Your codehtor - ' `_-_Column 2: The creditor to whom you owe the debt §
§ Check all schedules`that app|y: " § l
Cl schedule D, line
§ Name
E| schedule E/l=, line
Number guam l:l Scheduie G, line
3 _ l
, l;l Schedule D, iine §
l Name i
§ El Schedule E/F, line
Number S§ree§ il schedule G_ line
_ city """"""" slate nm;j§l code
3._
m Schedule D, line
§ Name ”'__'_
§ Cl Schedule EIF, line
§ Number 311-get n Schedule G, lll'le
cily slate zli= code §
3d
El Schedule D, line l
§ Name »_ _§
§ El Schedule EIF, line
Number mg El schedule G, iine i`
§ Ciiy____ ____ __ __Siais________ __ ____ zir_§ods _
_ l;l Schedule D, line
= Name §
Cl Schedule EIF, line §
Number great L'.l schedule G, line ____
____Q_iu___ _ _§iare _____ zlii_ _C_sss__ __ _____~_._-___
Cl schedule o, line
Name
l;l Schedule EIF, line §
Number S§reel Cl Schedule G, line §
__Qir_r____ ___ ____ _________se_i_s __z__ll= Code m_______ _ _ ___
¢._
_ i;l Schedule D, line f
§ Name
Cl Schedule E/F, line
Number Street l:i Scheduie G, line
mw*(j;lt'y Staie ZlP Code
§ El schedule D, line ~____~
Name
L`.l schedule E/F_ line WM
number street U Schedule G, line
City Slala ZlP Code

 

official Fen`n louis

Schedule H: Your Codebtors

page _ of

 

 

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Debtor 1 Matha Cantey

Fllst Name Midd|e Name Last Name

 

Debior 2
(SpOL|SB, if filing) First Name Mlddle Name § Last Name

 

United States Bankruptcy Court for the: EAS'I`ERN District of NEW YORK

Case number
{tf known}

 

a Check if this is an

 

 

amended filing

Ofiicial Form 106Dec
Declaration About an Individual Debtor’s Schedules 1an

 

 

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

§ _ Sign Below

 

 

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

eis

U Yes. Name of person . Attach Bankruptcy Fetitr'on Preparer’s Norr‘ce, Declarafl'on, and
Signafure {Ol“Hcial Form 119).

,/..' ` §

§

Under penalty of§perjur_§y, l declare that l have read the summary and schedules filed with this declaration and
thja't they are true and§gorrect.

    

 

 

 

Signature¢€iz Debtor‘l Signature of Debtor2
Date
ll.lll.l.' DD l YYYY MM/ DD.' Y¥W

 

Otficl'al Form iueDec Declaration About an individual Debtor’s Schedules

 

 

 

" ' ' " Case 1¥17-45968-0€€ DOC 12 Filed`ll/SO/l?` Entered 12/01/17 11:03:55

Matha Cantey

First Name Middle Name Last Name

Debtor ‘l

 

DEthr 2

 

(Spouse, if Flling} First Name umwa Name Les\ Name

united states Eankrupicy court for ther EASTERN Disrrict of NEW YGRK

Case number . .
(lfknown) m Check if this ls an

amended filing

 

 

 

Officiai Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 04;16

Be as complete and accurate as possible. if two married people are thing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional psges, write your name and case
number (if known}. Answer every question.

.: Give Details About Your Marital Status and Where Vou Lived Before

 

 

_ 1. What is your current marital status?

 

' 2. During the last 3 years, have you lived anywhere other than where you live now?

 

 

 

 

 

 

 

 

 

 

 

 

 

i"`“‘z
§;_!§No
§U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
_Debtor_q;' = - - _ -_ § __-_` ` _` `_ f_ _` bates oebtqr1 -oebtqrz;~__ '- _- - . f -' -_ 'D'a_tes Debtor2 '
- " ' - ` ' ` ` " lived there - ` . ` ` ' ~ `- ` ` lived there '
cl Same as Debtor 1 il Same as Debtor1
39 Church St #43 From From
Number Street Number Street
To To
Port Jervis 12771
City State ZlP Code City State ZlP Code
n Same as Debtor ‘l n Same as Debtor1
Frorn From
Number Street Number Street
To To
City State Z|PCode City State ZlP Code

- 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldal'\o, Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas, Washington, and Wisconsin.)

WNo

Yes. Make sure you fill out Schedule H: Your Codebtors (Oflicial Form 106H).

 

 

Explain the Sources of Your income

 

Of?`cc>ial Form 107 Statement of Financia! Affairs for individuals Filing for Bankruptcy page 1

 

 

 

Case 1-17-45968-0@0

Matha

Firsi Name

Cantey

Last Name

Debtor ‘l

 

Midd|e Name

Case number (irhrwwni

DOC 12 Filed 11/30/17 ' Entei’ed 12/01/17'11:03:55

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years‘?
Fill in the totai amount of income you received from ali jobs and ali businesses, including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor1.

put
ill NO

ij Yes. i=tii in the detaiis_

 
 

 

Sou rce_s of income

check ali that appiy._' `- _. `.

n Wages. commissions

From Janua 1of current ear til
ry y un bonuses, tips

the date you filed for bankruptcy:

n Wages, oomm§ssions,
bonuses, tips

(Jartuary 1 to December 3'i,YWY l Cl Operating a business

For last calendar year:

E] Wages, commissions
bonuses, tips

] ia Operating a business

For the calendar year before that:

(January 1 to Decomber 31,
vYYv

 

Gross_ income

(beiore deductions and '-
exciusions) ` `

$0

ij Operating a business

5. Did you receive any other income during this year or the two previous calendar years‘?
include income regardless of whether that income is taxabie. E)tamp|es of other income are alimony; child support; Sociai Security,
unemploymentJ and other public benth payments; pensions; rental income; interest dividends; money ooilecied from lawsuits; royalties; and
gambling and iottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

'S_ources of income '

.cher_.~_ii aii iitat'ap_piy_

D Wages, commissionsl
bonuses, tips

n Operating a business

n Wages, commissionsl
bonuses tips

m Operating a business

n Wages. commissionsl
bonuses, tips

n Operating a business

List each source and the gross income from each source separately Do not include income that you listed in line 4.

iii No
iCi”Yes. Fiii in the detainh

   

 

S_ources of income '
Describe below. _

From January1 of current year until
the date you filed for bankruptcy:

For last calendar year:

'_ _.Gross income_frorr_i '
;'eac_h source '

` ibeiore ded_uctions'anci
exciusions) . . - .

$0

 

_'Sources of.income
-D_escribe_b_elo_w`, . . ` j

 

 

(Jartuary 1 to December 31, )
Yvw

 

For the calendar year before that:
(January 1 to December 31, )
vYYv

Offtciai Form 107

 

 

Statement of Financiai Affairs for individuals Fiiing for Bankruptcy

       

. Gross_ income -

- (before deductions and `

exciusions)

$0

$0

  

'Gross_iri_come from j.
each source - `

`(before deductions and
exciusions) `:_ - z

so

page 2

 

 

CaS€ 1-17-45968-0€'0 DOC 12 Filed 11/30/17 Entei’ed 12/01/17 11203:55

Debtor 1 M~"ltha Callt€y Case number irrimuwn)
F|rst Name iV|idd|e Name Last Name

List Certain Payments Vou Made Before ‘Iou Fiied for Bankruptcy

 

 

st Are either Debtor 1 ’s or Debtor 2's debts primarily consumer debts?
i[;i No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consurner deth are defined in 11 U.S.C. § 101(8) as
“incurred by an individuai primarily for a persona|, famiiy, or household purpose."
During the 90 days before you iiied for bankruptcy. did you pay any creditor a total of $6,425* or more'?

i;l No. Go to line 7.

n Yes. List below each creditor to Whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic Support obligations, such as
child support and alimony. Aisc, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01119 and every 3 years after that for cases filed on or afterthe date of adjustment

ig®”' Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more'?

i:§:ii No. Go to line 7.

i.-i;i Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligationsx such as child support and
aiimony. A|so, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of _ Totai amount paid ' Amount you stiii owe -' Was_this payment for...
payment ' `- ` . . _ - --_- -- __ n ._ _ . .
. $ $ n iviortgage
Creditor’s Name
n Car
Number Street a Credit card

n Loan repayment

 

n Suppiiers or vendors

 

 

 

l
city state zia code m Other §
, l
$ $ n Mortgage
Crediior's Name
n Car
n Creci it card

 

Number Street
a Loan repayment

 

a Suppliers or vendors

 

 

 

city state ziP code a Other
$ $ n Mortgage
Crediiofs Name
n Car

 

n Credit card

 

Number Streei
n Loan repayment

 

n Suppliers or vendors

 

city state zii= cade m ether

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

Ca`se 1-17-45968-@@¢

Debtor 1 Matha

Cantey

 

PlrstNarne

Last Name

DOC 12 Filed 11/30/17 Entered'lZ/Ol/l? f|_'f|_§O?>:BBl

Case number rirrnowni

 

?. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders inctude your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an ocher, director, person in contro|, or owner cf 20% or more of their voting securities', and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony_

¥"=

gil No

 

 

es. List all payments to an insider.

 

insider's Name

 

 

 

Number Street

 

 

City

 

insiders Name

 

Number Street

 

 

City

State ZlP Code

__ Dates of _' ' Total_arnol.l-nt _' _' .' Amount you still _Re_a_son _for_th_is payment . ._ . n ` n
'Paymen_l' Pai¢_l ' owe - -- - . ` `. ` '
$ $
state zii= code l
j
$ $ l
l

1 B. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account cfa debt that benefited

an insider?

include payments on debts guaranteed or cosigned by an insider.

§IE:§No

l:l Yes. List aii payments that benefited an insider.

Dates of `

 

lnsii:ler's Name

._ _ Total amount

 

 

 

Number Street

 

 

ciiy

 

_ _ Amount you`stil| R_eason forthi_s_payment'.'_" `
Paym°"t' " " p-a'd. ` '- °W° ' ` lnclude creditors name '
$ $
State ZiP Code
$ $ l

 

lnsldefs Name

 

Number Street

 

 

city

Officia| Form 107

l S._t.at.@... . Z."_’.l¢§’£le

Statement of Finaricial Affairs for individuals Filing for Bankruptcy

page 4

 

CaS€ 1-17-45968-0€0 DOC 12 Filed 11/30/17 Entered 12/0`1/1'7 11203255

Debtor 1 Matha Cantey

First Name Middle Name Last Name

Case number (rrr<m>wni

 

  

ldentify Legal Actions, Repossessions, and Forectosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, patemity actions, support or custody modifications
and contract disputes

  

7 §Yes. Filt in the details.

 

 

 

 

 

 

 

 

 

Nature ofthe case -- ' - Court or agency ' . z - ' ' ` .Status ofthe case
Case title___mm 00qu Name n Pending
n On appeal

Number Street a Conc|uded
Case number

City State Z|F‘ Code
Case title jcoun Name q Pending

j a Ori appeal

r

Number Street n COnClUdEd
Case number

 

 

J:Clty State ZlP Code

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, gamished, attached, seized, or levied?
Check all that apply and fill in the details below.

 
 

No. soto line 11.
§_: Yes. Fili in the information below.

 

 

 

 

 

 

 

 

 

 

 

Describe the property -- -. n - ~Date " Vatue of-tl\e property
_ $
Creditor‘s Name
Number Street lixp[a_ihwhat happened `
a Property was repossessed.
a Property was foreclosed
m Property Was gamished.
stare zii= code m Property was attached seized, cr ievied.
Describe the-property :- . _` . ` _ " _ `. -D_ate'_.'__ ' _-_\falue_ofth_e property
i ' ` , ' ' 7 :.. . . . ._ . » \.
j l
l s
' l

Creditofs Name

 

 

Number Street '. ' ' " '
_l'-_'xpl_ainwhathappenert --

 

Property was repossessed
Property was foreclosed
Property was garnished

 

City Slate ZlP Code

?UUDU

Property was attached. seized, or levied

anciai Form 107 Statement of Financial Affairs for individuals Fiting for Bankruptcy page 5

 

 

CaSe 1-17-45968-0€0 DOC 12 Filed`ll/3¢0/1`7" ' E`ntered`l`Z`/O`l/U 11`:`0`3`:"55" "

Debtor ‘I Matha Cantey Case number (irrmawni
First Name Middle Name last Name

 

11. Within 90 days before you filed for bankruptcy, did any creditorl including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

§§ No

m Yes. Filt in the details

-Describethe action the creditortook' `. _ ' _Date action . _Amount-
-'-.-. ' " ` wastaken_--` f

   

 

Creditors Name

 

Number Street

 

 

City Staf€ Z|F’ Code Last 4 digits of account number: XXXX-___

f 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officia|?

° List certain sins and contributions

 

 

_ 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
Z§ No
El Yes. Fiii in the detain for each gift

 

 

 

 

 

 

 

 

' oirts witha_t¢t`ai value ¢r:mor_ei__h_aq soon _ describe_the_gi_i=is ` _ -7. -f - ._ .- j._ ' bates you gave ` vaqu
perper_son ` .` §- :j` .` ..` ' "- - -- _"'thegifts- "-- . '
l
; is
Person to Whom You Gave the Gifi t if
t
§ § $
Number Street i
city state zip code
i
Person’s relationship to you
l
Gifi,s with'at_otal\_ralue of moreth_an_ $69£}_ __- Describe the grifts: ` - _' .' ` ' ' ; - 'Dates'you gave ' Value' n _' _' `
per person : ' ' -_ _' ' . '. ' _- _ - '_.___; _'_ _ _ - - ' 7 7 7 viiin;" ' 7:4 me gifts '- - -
- i $
Person to Whom You Gave the Gift i
t

 

Number Street

 

city stare ziP code

Person’s relationship to you

 

Oi'ftcia| Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 6

 

CaSe 1-17-45968-cec DOC 12 Fi`|ed 11/30/17 Entered 12/01/17 11:03:55

Debtor 1 Matha Cantey Case number (irrmgwni
Fii'st Name Midnie Name Last Name

j 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity’?

HNQ

U Yes. Fill in the details for each gift or contribution

Gifts orcontributioris to charities ' " :" .Describe what you'c_ontributo_d _- '_ " :_' -_ _' -` Date you z . Value_ - -'
thatfota|rnorethan_$GD(l . - ' - _` :__- -_ " ~ _` . . _ contributed ` `

99

 

Charity’-s Name

 

 

Number Street

 

city state ZlP code

 

n ' _.: List Certain Losses

 

 

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

 

m res Fiii in the details

Describe the property lieu lost _a_nd __ Describe any insurance coverage for the loss = -' ' ' _ " j. Date of_yoiir _ Va|ue _of property
how the loss occurred _ _ _ ' _ loss -. : _ '. lost _ _
_ _ _ _ . . - ' ' ' include the amount that insurance has paid. i_'ist pending insurance _ -_ - ' _ '
-ctaims on line 33 of Schedule AJ'B_: Property _

 

 

 

n List Certain Payments or Transfers

 

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

  

Yes. Fii| in the detaiis.

 

 

 

Descrlption'_a_rid`value_of_any_property.trans_ferred j _ .-`.' ` .Date payment or_ Ariio_unt o_f payment
" _. _` " _' `__ '.`_ - l " `; - _' _- transferwa`s _ '; ' . ':_
Person Who Was Paid _`_ __ ________ __ __ _ _ __ ____ ______________',__ - nl made .
Number Street 5 $

 

 

 

l
l
l
City State ZlP Code j l
l
Ei'naii or websile address `
l
l

 

Person Who iViade the Payment, if Not You

 

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

 

CaS€ 1-17-45968-0€'0' DOC 12 Filed 11/30/17 Entei’ed 12/01/17 11203:55

 

 

 

 

 

 

Debtor1 Matha Calltey Case number (rrrmawm
FlVSY Name Mlddle Nal'l'le LaSl Name
De_s'c'ript_ioh and value of any property transferred n n '_: " _ Date payment or n A_mo_untof n _j_
§ " _ -_ _ - -- . '_`___-transferwasmade payment '
season Who Wae Paid
$
l
Number Streei §
$

 

 

city state zlP code § l

 

Email or website address

 

Person Who |l.'lads the Paymeni, if Not You
17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNO

Ej Yes. Fill in the details

 

 

 

 

city state zii=cude §

 

 

` 18_ Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
' transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement

No
E:ljves_ Fill in the details

. Descript_i_on and valueo'_fany-property transferred _ '- _ _ _ _Date payment or "_Amo'u_nt of payment
§ -' ` ` 'f': `- '- - __ transferiva_s' ' _--._- -'
§ - . _____ § § § made
5 Person Who Was Paid §
l
Number Sfreet § § $
l
` § $

Description and value of property .:` -'_Describe any property or payments received Date transfer _

transferred ' _ - ordeth paid_in-exchange ' -j. _ -_ was made

 

 

Person Who Received Transfer

 

Number Street

 

 

City Smte ZlP Code

 

 

Person’s relationship to you

 

 

Person Who Recelved Transfer §

 

Number Street l :

 

 

 

city stare zchocie l __ _ _ l

 

Person’s relationship to you

Officia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

 

Debtor 1 Mat]la C€mtey Case number irrimawm

CaS€ 1-17-45'968-€'€'€ DOC 12 Filed 11/30/1'7' Entered 1'2/01/17 11203:55

 

Firsi Name ll.»iidd|e Name Last Name

is_ Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? {These are often called asset~protecti'on devices.}

iiZNo
El Yes. Fill in the details
_Descript_ion and value oft_he.propertytransferred _ _ -_ 5 _' z ' :_ ' n _ ' 'Dato transfer_'

_ _ _ .wasmade'

Name of trust

 

 

 

 

 
 

8__:__ List Geri:ain l`-‘inanoial Aocounts, instruments, Safe Deposit Boxes, and Si:orage Uni|:s

 

- 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

i
i.
i
§
§
i
i
§
§
i
l
l

 

closed, so|d, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, citloperativesl associationsl and other financial institutions

HNQ

§§"ives. Fill in the details

 

 

_Last _4 digits of account number _`i‘ype'of account _or " 'Date account was ' ` '_i_.ast balance before
- . ' ' _ -' . _' instrument _ §. _' ' _ ' _c|osed, so|d,move_d,_ closing ortransfer
" " ' ortransferred ` ' " - ' '
Name of Financial institution
xxxx- ill checking $
Number Street m Savings

g Money market

 

g Brokerage

 

 

_"fi"__ __ __s""° _Z"_'°°"‘i_ __ __ _____ C|_<__>ihs______
xxxx- Elcheu<ing $
Name or Financial institution
uSavings
Number Street n Money market

 

 

n Brokerage
m Other

 

City State ZiP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptoy, any safe deposit box or other depository for
securities, cash, or other valuables?
§No

_ ¥es. Fill iri the detai|s.

  
 

 

 

 

 

 

 

Who else had access`_toit? _ _' _ n Describe the contents _' - '. _ ' '_ .Do you sti|_i
` ' " ` ` " ' `_ _" 1'_ '_ ` _ _ _, have it?
l l
l n No
l §.
Name ofFinancia| institution Name § m Yes
Number St"eet Number Slreet
l
city state ziP code §

 

city stats zii> code §

 

Officiai Form 107 Statement of Financia| Affairs for individuals Fiilng for Bankruptcy page 9

 

 

 

CaS€ 1-17-45968-0€0 DOC 12 Filed 11/30/17 Entered 12/01/17'11203§255'

Debtor 1 Matlla Cantey Case number (r'rlmuwni
First Name Middie Name Last Name

 

 

§ D._ng you stored property in a storage unit or place other than your home within ‘i year before you filed for bankruptcy?

§:E§ No

EJ Yes. Fill in the details

 

 

 

Who eise_ha_s_or had access _to_it?_' ' ' _De_scrib_e.t_he contents __ " ' ' Do you still_
_- .._.- ' ` ` -`--- haveit?'
l
§ n No
Name ofStorage Facllity Name § § n yes
Number Sireet Number Street

 

City$tai:e ZlP Code

 

City _ $*ais_ ____Z_'F_§P£i_i?______ _ _ __ __ _

   

§§ identify Property You i-ioid or Con'trol for Someone Eise

 

23. Do you hold or control any property that someone else owns? include any property you borrowed froml are storing for,
or hold in trust for someone.

 

§lj° ves. Fill in the details

 

'Whereistheproperty? ' - ' - -`-Describethe§property - -' 'va|ue'

 

Owner’s Name § § $

 

Number Street §
Number Stroot §

 

 

 

 

 

 

City State ZlP Code

 

§ City Siate ZlP Code

 
 

Givo Details About Environmentai information

 

_ For the purpose of Part 10, the following definitions appiy:

et Environmentai law means any federall state, or local statute or regulation concerning pollutionl contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substancesl wastes, or materiai_

- Site means any iocation, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sltes.

j Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiai, pollutant, contaminant, or similar term.

§ Report ali notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

§E:§No

iZi Yes. Fill in the details

 

 

 

 

Governmenta| unit `_ ' ` " `Environmentai law, ifyou know it ' ' - Date of notice
Name of site Govemmenta| unit
Number Street Number Street

City Siate ZlP Code

 

 

City State ZlP Code

Ofnciai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 10

 

 

 

Cas§e 1-17-45968-cec

Matha

First Name

Cantey

Last Name

Debtor‘l

 

Middle Name

25. Have you notified any governmental unit of any release of hazardous materiai?

H§NO

El ves Fill in the details

 

. Governmenta`| unit '

Case number (lrkmwn)

§ - Environmenta|_law, _i_f you know it

DOC 12 Filed 11/30/17 Ent§€l’ed 1§2/01/17 11203:55

§ Date o_f notice

 

 

Name of site Governmean unit §

 

Number Street Number Street

 

City State ZlP Code

 

City State ZlP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental iaw? inciucle settlements and orders.

El Yes Fill in me details

C_ou§'t o§r agency §

 

 

 

 

 

Case title
Court Name
Number Street
Case number city stale ZlP Code

 

§ _Nature.of_tl‘l_e case -

§§ :._ Give Details About Your Business or Connections to Any Business

§st_atus_er.ll_le
Case

Cl Pendlng
m On appeal

n Conclucled

 

3 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
a A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
m A member of a limited liability company {LLC) or iimited liability partnership (LLP)

L._.l A partner in a partnership
m An officer, director, or managing executive of a corporation

a An owner of at least 5% of the voting or equity securities of a corporation
§§§§§ No. None of the above applies. Go to Part 12.

§q§¥es. Check all that apply above and fi||' ln the details below for each business.
Desc__§ribe the§_ nature of th§o business §

 

 

Business Name

 

Number Street

 

 

 

Name `of accountant or bookkeeper § §

 

 

Ern§pi_oyer identification number `

` iJo not include Socia| Security number or §l`§l'lN

§ ElN: _

§Dates business existed

§ From 'l'o

§§ _ EmPloyerlclentlfication nu§r_n§_b_el§'§ '- §_ '- §§ §

 

 

 

 

 

 

Ofi"lcia| Form 107

City __ _Slale _ zlP cane _
Describe the nature o_f the business §

B'usiness Name

Number Street __ _. z _ _ _._
_N‘=!_rl'_le of accoun_tant_or bookkeeper '_ -

City Staie ZlP Code §-

Statement of Financial Affairs for individuals Fi|ing for Bankruptcy

 

§ Do not include Soclal Security n§um§be§r§ o§r l'§l§'lN

EIN: -

Dat§es business existed . 2 §§

From To

page 11

 

 

 

 

Case 1-17-45968-cec DOC 1§2 Filed §§1§1/30/17 Entered 12/01/17 11:03:55

Debtor 1 Matha Cantey Case number (irlmawn)
Fii'st Name Middie Name Last Name

 

§ _§`-__f_.-Zmp§loyerldentific_ation number §

Describe the-nature ofthe§busine§s§s§ __ _ . . _ '_ ' : _
- ' _ -' - '- _- -' -' - -' j iJo not include Sociai Securitynumi:ler oriTlN.

 

Business Name

 

 

 

 

EIN __,,__-____,_____
Number street Name of_ accountant or bookkeeper §- " `§ _ § §' §Dates_i:lusiness existed -_ § §
§

§ From To

 

City Sta¥e ZlP Code

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include aii financial
institutions creditors, or other parties

§§§gnNo
il Yes. Fill in the details below.

Date issued -

 

Name i\llM l on l YWY

 

Number Street

 

 

City State ZlP Code

 

Sign Below

 

 

 

l have read the answers”"§o§n tj}\is Statement ofFinancial Affal'rs and any attachments, and l declare under penalty of perjury that the
amnswers are tru nd corre_ct. i understand that making a false statement, concealing property, or obtaining money or property by fraud
!j'§ `_ ' ith a bank_rilptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

;18-U.S.C. § 152,_)34 1§§19, and 3571.

§

       

 

/__

Signature of Debtor ‘i Signature of Debtor 2

Date /§ §/§§§ 67 M§f 7 Date

Did you attach additional pages to ¥our Statemenf of Financial Affal'rs for individuals Filing for Bankruptcy (Official Form 107)?

@No

El Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

DNo

n Yes. Name of person . Attaoh the Bankruptcy Petl`tl'on Preparer”s Nol‘r'ce,
Decl'aratl`on, and Signature (Ofi`lciai Form 119).

 

 

 

 

 

 

Oflicial Form 107 Statement of Financial Alfairs for individuals Filing for Bankruptcy page 12

CaS€ l-l7-45968-C€C DOC 12 Filed 11/30/17' Entered 12/0'1/17 11203:55

 

Matha Cantey

 

 

Debtor ‘l

Flrsl Name Nliddla Name Last Name
Debtor 2
(SpOLlSe, if filing) FirstName Midd|e Name Last Name

United States Bankruptcy Court for the: EASTERN District of NEW YORK

 

ease number L_..l Check if this is an
(lfkna~n) l amended filing

 

 

Officia| Form 108
Statement of intention for lndividuals Filing Under Chapter 7 me

 

|f you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

¥ou must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must aiso send copies to the creditors and lessors you list on the form.
if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible lf more space is needed, attach a separate sheet to this form. On the top of any additionai pages,
write your name and case number (if known).

_ List Your Creditors Who Have Secured C|aims

 

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Offlcia| Form 106D), fill in the
information below.

 

 

 

 

 

identify the creditor and the property that is collateral " n - n n ___What do you intend _to do with the property that l :Did.you claim the property `
. " - - _ ` ' '- ; -. '. . _- ' ._ _ -secu_resa __debt? '- __ - _ _ as.exempt on Schedule C?
:;:;i;t_m 5 Rushmore Loan Management Svcs mai-Surrender the PFODGFW- 510
""" §U;Retain the property and redeem it. ;/ =_(95
D ' t` f j .
pr:;cer:-[t}ylon 0 MRetain the property and enter into a
Reaffirmarion Agreement.

securing debt; _
l:j:Retain the property and [exp|ain]:

 

 

 

 

 

 

 

Checking Account
Creditor’s _ _ § "
name: Clear Sprlng Loan Servlces §§ Surrender the property N°
' ` " ` ` ` ' ' ' ' ' m Retain the property and redeem it. ./ Ye$
' i' f ~ 7
E;;;r:.?ylon 0 §"D Retain the property and enter into a
Reaffinnation Agreement

securing debt:
mg Retain the property and [explain]:

 

Checking Account

Creditor’s
camel _

§Surrender the property, No
""" ` ' m Retain the property and redeem it. `/ \ Yes

Retain the property and enter into a
Reaffirmation Ag'reement.

 

 

Select Portfolio Servicing

 

 

 

Description of

property
securing debt:

 

 

1;] Retain the property and [explain]:

 

 

 

 

 

 

 

 

Checking Account
z?;:j;t;O[-S First Franklin _, Surrender the P'OPEFW- N°
' ` m Retain the property and redeem it. \/ Yes
E;Spc;:$;ion of im@ Retain the property and enter into a n §§ '
Reafiirmation Agreement.

securing debt:
m Retain the property and [explain]:

 

Residence Mortage Paid Iu Fnl]

Ofl`lcia| Form 108 Statement of lntention for individuals Filing Under Chapter 7 page 1

 

 

 

Case'1-17-45963-cec Doc 12 File`d 11/30/17 Enter`ed 12/01/17 11:03:55

Attachment to Statement of Intention: Secured Property

Description: Family Residence
Creditor Name: Mortaqe Lenders Network

COSG 1-17-45968-C6C DOC 12 Filed 11/30/17 Ent€red 12/01/17 11203:55

Matha Cantey

Flrst Name Mlddle Name Last Name

Case number (lffmown)

Debtor 1

 

n List Your Unexpired Personal Property Leases

 

 

` For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Lea.ses (Offioial l'-‘orm 1066},
' fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
' ended. ‘(ou may assume an unexpired personal property lease if the trustee does not assume it. 1‘l U.S.C. § 365(p)(2).

Describe your.eneirpi:red personal_propertylea's`e§;_ .' ' '- j ' '_ " . '.: - `- `- _ z."-Will'the'|eas:e.be'as_s_'urned? .' .

l_essor’s name: Chrysler Capital §Ei,,No
Descrlptlon of leased lam 86
properly Household Assets

 

l_essor’s name: , UNO

n FEI;Yes

Description of leased
property:

 

Lessor’s name:

 

Description of leased

 

 

property:
Lessor“s name; §E]:No
.......... - HNes
Description of leased
property:
Lessor’s name: U\io
` lm:n'es

Description of leased
property:

 

Lessor's name:

 

Description of leased

 

property:
l_essor's name: §l:ldo
............... E“':Yes

Description of leased
property:

 

 

._ Sign Below

 

 

finder pena__l_tyw' /per}'ury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal pi`”o i'ty/that is subject to an unexpired |ease.

ga ‘ §§ 311

    

 

 

§§§§§§ W`? l tr
x j
Signature of Debtor 1 Signature of Debtor 2
w el
Date ' ' Date
MM! DD .' YVY¥ Mur DDr Y¥YY

Ofllcial Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

